Case.net: 20SL-CC02195 - Docket Entries                                      Page 1 of 2
     Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 1 of 33 PageID #: 5




                                                                          Search for Cases by: Select Search Method...   
Judicial Links   | eFiling   | Help   | Contact Us | Print                        GrantedPublicAccess Logoff ADAM_DOERR
                     20SL-CC02195 - BRENDA GLENN V DALCO INDUSTRIES, INC. ET
                                           AL (E-CASE)
  FV File Viewer

Click here to eFile on Case
Click here to Respond to Selected Documents
                                            Sort Date Entries:            Descending   Display Options:
                                                                                                          All Entries    
                                                                          Ascending


11/10/2020        Note to Clerk eFiling
                  Notice of Service
                  AMENDED NOTICE OF SUMMNONS SERVICE ON DALCO INDUSTRIES, INC 20-SMCC-9617A;
                  Electronic Filing Certificate of Service.

11/05/2020        Summons Returned Non-Est
                  Document ID - 20-SMCC-9617; Served To - DALCO INDUSTRIES, INC.; Server - ; Served Date - 05-
                  NOV-20; Served Time - 00:00:00; Service Type - Special Process Server; Reason Description - Non-est

11/02/2020        Note to Clerk eFiling
                  Notice of Service
                  20SMCC9617; Electronic Filing Certificate of Service.

10/20/2020        Alias Summons Issued
                  Document ID: 20-SMCC-9618, for BENEFIT ADMINISTRATIVE SYSTEMS, LLC. Summons Attached in
                  PDF Form for Attorney to Retrieve from Secure Case.Net and Process for Service.
                  Alias Summons Issued
                  Document ID: 20-SMCC-9617, for DALCO INDUSTRIES, INC.. Summons Attached in PDF Form for
                  Attorney to Retrieve from Secure Case.Net and Process for Service.

10/12/2020        Notice of Service
                  Non-Est Return BAS.
                    Filed By: JAMES EDWARD KLENC
                    On Behalf Of: BRENDA GLENN
                  Notice of Service
                  Non-Est Return Dalco.
                    Filed By: JAMES EDWARD KLENC
                  Alias Summons Requested
                  Request for Alias Summons.
                     Filed By: JAMES EDWARD KLENC
                  Summons Returned Non-Est
                  Document ID - 20-SMCC-3813; Served To - BENEFIT ADMINISTRATIVE SYSTEMS, LLC; Server - ;
                  Served Date - 12-OCT-20; Served Time - 00:00:00; Service Type - Other; Reason Description - Non-est
                  Summons Returned Non-Est
                  Document ID - 20-SMCC-3812; Served To - DALCO INDUSTRIES, INC.; Server - ; Served Date - 12-
                  OCT-20; Served Time - 00:00:00; Service Type - Other; Reason Description - Non-est

04/29/2020        Summons Issued-Circuit
                  Document ID: 20-SMCC-3813, for BENEFIT ADMINISTRATIVE SYSTEMS, LLC. Summons Attached in
                  PDF Form for Attorney to Retrieve from Secure Case.Net and Process for Service.
                  Summons Issued-Circuit
                  Document ID: 20-SMCC-3812, for DALCO INDUSTRIES, INC.. Summons Attached in PDF Form for
                  Attorney to Retrieve from Secure Case.Net and Process for Service.


                                                        EXHIBIT A

https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                           12/3/2020
Case.net: 20SL-CC02195 - Docket Entries                                      Page 2 of 2
     Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 2 of 33 PageID #: 6



04/15/2020       Filing Info Sheet eFiling
                     Filed By: JAMES EDWARD KLENC
                 Pet Filed in Circuit Ct
                 Petition; Exhibit 2; Exhibit 1.
                    On Behalf Of: BRENDA GLENN
                 Judge Assigned
                 DIV 8
Case.net Version 5.14.12                      Return to Top of Page      Released 11/10/2020




                                                   EXHIBIT A

https://www.courts.mo.gov/casenet/cases/searchDockets.do                        12/3/2020
                                                                                                   Electronically Filed - St Louis County - April 15, 2020 - 04:49 PM
 Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 3 of 33 PageID #: 7
                                                                             20SL-CC02195

                 IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                                STATE OF MISSOURI

BRENDA GLENN,                          )
                                       )
                           Plaintiff,  )
v.                                     )
                                       )                     Cause No.:
DALCO INDUSTRIES, INC.,                )
                                       )                     Division:
SERVE REGISTERED AGENT:                )
David L Dickerson Jr                   )
23 Holloway                            )
Lake Saint Louis, MO 63367             )
                                       )
SERVICE TO BE MADE BY SHERIFF OF       )
ST. CHARES COUNTY                      )
                                       )
and                                    )
                                       )
BENEFIT ADMINISTRATIVE SYSTEMS, LLC., )
                                       )
SERVE REGISTERED AGENT:                )
CSC-LAWYERS INCORPORATING              )
SERVICE COMPANY                        )
221 BOLIVAR STREET                     )                     Count I – Violation of MHRA
JEFFERSON CITY, MO 63105               )                     Count II – Violation of ADEA
                                       )                     Count III – Violation of ADA
SERVICE TO BE MADE BY SHERIFF OF       )                     Count IV - Fraud
COLE COUNTY                            )                     Count V – Breach of Contract
                                       )
                           Defendants. )                     Jury Trial Demanded

                                            PETITION

       COMES NOW Plaintiff and, for her cause of action against Defendants, states and

alleges as follows:

       1.      Plaintiff Brenda Glenn is an individual and is now, and at all times mentioned in

this Petition, a resident of St. Charles County, Missouri.

       2.       Defendant Dalco Industries, Inc. is a corporation duly organized under the law

with its principal place of business located in St. Louis County, Missouri



                                             EXHIBIT A
                                                                                                     Electronically Filed - St Louis County - April 15, 2020 - 04:49 PM
 Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 4 of 33 PageID #: 8




       3.      Defendant Benefit Administrative Systems, LLC is a limited liability company

duly organized under the law and conducting business in the State of Missouri.

       4.      Venue is proper in St. Louis County, Missouri because all of the acts and events

which are the subject of this action occurred in St. Louis County, Missouri.

            COUNT I – VIOLATION OF THE MISSOURI HUMAN RIGHTS ACT

       5.      All conditions precedent to jurisdiction under the Missouri Human Rights Act

have occurred or have been met. Plaintiff timely filed a Charge of Discrimination and a true and

correct copy of plaintiff’s Notice of Right to Sue issued by the EEOC to the plaintiff is attached

hereto as Exhibit 1.

       6.      The Missouri Human Rights Act (“MHRA”), as codified in Chapter 213, RSMo.,

prohibits unlawful, discriminatory employment practices.

       7.      Plaintiff is 52 years old and a member of a category of persons protected from

unlawful discrimination under the MHRA, Sections 213.010(5).

       8.      The violation of the MHRA took place primarily at 13795 St. Charles Rock Road,

Bridgeton, MO 63044.

       9.      At all times relevant herein, Defendant Dalco is an employer within the meaning

of the MHRA, Section 213.010, RSMo.

       10.     Defendant Dalco subjected Plaintiff to discrimination in violation of the MHRA,

Section 213.055, RSMo., by engaging in one or more of the following actions:

               (a)     Upon learning of her disability, Defendant Dalco discriminated and

harassed Plaintiff by reducing her work status from full time to part time and cancelling

Plaintiff’s health insurance;



                                            EXHIBIT A
                                                                                                    Electronically Filed - St Louis County - April 15, 2020 - 04:49 PM
 Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 5 of 33 PageID #: 9




                (b)    Upon learning of her disability and subsequent to Defendant Dalco

reducing Plaintiff’s work status from full time to part time, Defendant Dalco hired three younger

employees full time to similar positions of Plaintiff;

                (c)    Upon learning of her disability, Defendant Dalco discriminated and

harassed Plaintiff by ignoring complaints of Plaintiff of discrimination and sabotage.

                (d)    Upon learning of her disability and despite her complaints, Plaintiff was

subjected to a hostile work environment by co-workers who engaged in sabotage, discrimination,

and possible fraudulent activities.

       11.      Plaintiff was employed by Defendant Dalco beginning September 2017 as an

administrative clerk/accounting clerk.

       12.      Plaintiff was hired as a full time employee with health insurance benefits making

$16 per hour.

       13.      In November 2018, Plaintiff informed Defendant Dalco through her immediate

supervisor Diana Moyers that she would be having knee surgery on November 15, 2018 due to a

prior automobile accident which occurred in 2015.

       14.      In response, Ms. Moyers stated, “you’re not going to put that on the company’s

insurance, are you?”

       15.      After learning of the surgery being scheduled on November 15, 2018, Defendant

Dalco informed Plaintiff that her employment status was being cut from full time to part time

due to a lack of work, and that her health insurance was being cancelled effective November 14,

2018, the day before the scheduled surgery.




                                              EXHIBIT A
                                                                                                       Electronically Filed - St Louis County - April 15, 2020 - 04:49 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 6 of 33 PageID #: 10




          16.   Upon learning the surgery was cancelled due to other health complications,

Defendant Dalco reinstated full time status until December 1, 2018.

          17.   Despite claiming a lack of work, subsequent to Plaintiff’s status being cut to part

time, Defendant Dalco hired three younger employees to full time status to positions similar to

the position held by Plaintiff.

          18.   Despite requested, Defendant Dalco has refused to return Plaintiff to full time

status.

          19.   Plaintiff, due to her disability which required surgery and her age was treated in

a disparate manner and was subjected to Defendant Dalco’s unfair policies and practices insofar

as that she was treated in an unequal manner and unlike other employees similarly situated with

the Defendant Dalco.

          20.   Said unfair practices both limited Plaintiff in her wages and other benefits because

of her age and disability.

          21.   Defendant Dalco further denied Plaintiff equal employment opportunities because

of her age and disability, to wit:

                a.      The reason given for Plaintiff’s change from full time to part time status

was a mere pretext for unlawful discrimination in that Defendant Dalco knew or should have

known that the reduction of status was for the sole purpose of taking away Plainitff’s health

insurance so the surgery on her knee would not be covered;

                b.      The Defendant Dalco hired three younger full time employees to the same

position that Plaintiff held;




                                             EXHIBIT A
                                                                                                    Electronically Filed - St Louis County - April 15, 2020 - 04:49 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 7 of 33 PageID #: 11




               c.      Upon information and belief, Defendant Dalco has previously cut hours to

other employees facing health issues in order for them to lose their health insurance.

       22.     At all relevant times, Defendant Dalco knew that the discriminatory conduct

complained of herein was without cause as Plaintiff had consistently satisfied and/or exceeded

all of the requirements of her position.

       23.     As a result of Defendant Dalco’s employment policies, procedures and practices,

Plaintiff was unjustly and discriminatorily deprived of equal employment opportunities because

of her disability and age.

       24.     Defendant Dalco’s conduct was a direct and proximate cause of the injuries,

damages and harm suffered by Plaintiff.

       25.     Plaintiff’s disability and age were contributing factors in Defendant Dalco’s

decision to engage in the conduct described in paragraph 10 above.

       26.     As a result of Defendant Dalco’s conduct and actions, Plaintiff was subjected to

disparate treatment than employees similarly situated.

       27.     As a result of Defendant Dalco’s conduct and actions, Plaintiff suffered lost

wages and benefits of employment.

       28.     As a result of Defendant Dalco’s conduct and actions, Plaintiff suffered emotional

distress and mental anguish.

       29.     As a result of Defendant Dalco’s conduct and actions, Plaintiff has incurred

attorney fees and costs of litigation, and will continue to incur such fees and costs.

       30.     Defendant Dalco’s conduct was outrageous because of Defendant Dalco’s evil

motive or reckless indifference to Plaintiff’s rights to not be subjected to discrimination and



                                             EXHIBIT A
                                                                                                       Electronically Filed - St Louis County - April 15, 2020 - 04:49 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 8 of 33 PageID #: 12




Defendant Dalco’s outrageous conduct warrants an award of punitive damages to deter

Defendant Dalco and others from engaging in such conduct in the future.

       WHEREFORE, Plaintiff prays this Court, after trial by jury, find in favor of Plaintiff and

against Defendant Dalco, and enter judgment for Plaintiff in an amount in excess of $25,000 for

Plaintiff’s lost wages and benefits of employment, and pre-judgment interest thereupon; for

Plaintiff’s emotional distress; for punitive damages; for costs of litigation and attorney fees; and

award to Plaintiff such other and further relief this Court deems just and proper.

                           COUNT II – VIOLATION OF THE ADEA

       31.      Plaintiff realleges and incorporates by reference paragraphs 1 to 30 as if fully set

forth herein.

       32.      Defendant is an “employer” as defined by §11(b) of the Age Discrimination in

Employment Act, as amended [29 U.S.C. §630(b)].

       33.      At all relevant times, Plaintiff was over 40 years of age, see 29 U.S.C. § 631(a),

and Defendant discriminated against Plaintiff by reducing hours and benefits due to Plaintiff’s

age, see 29 U.S.C. § 623(a)(1), (2).

       34.      A true and correct copy of Plaintiff’s Charge of Discrimination filed with the

EEOC and Missouri Commission on Human Rights is attached hereto as Exhibit 2.

       35.      On January 16, 2020, the EEOC issued a Notice of Right to Sue. Exhibit 1.

       36.      Plaintiff filed a timely charge of age discrimination with the EEOC, and has

satisfied all preconditions to bringing this action.




                                              EXHIBIT A
                                                                                                        Electronically Filed - St Louis County - April 15, 2020 - 04:49 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 9 of 33 PageID #: 13




       37.      Plaintiff has exhausted his administrative remedies and timely files this suit

following notice of her right to sue.

       38.      By reducing Plaintiff’s employment status from full time to part time while also

hiring younger employees to full time positions, Defendant Dalco discriminated against Plaintiff

in contravention of the prohibitions on age discrimination set forth in the ADEA.

       39.      As a direct and proximate result of the foregoing violations of the ADEA,

Plaintiff has sustained injury, including, but not limited to: denial of the wages and other benefits

afforded full time employees, lost interest on those wages and other benefits, and loss of any

potential opportunity to advance within Defendant Dalco.

       WHEREFORE, plaintiff prays for lost wages, employment benefits, and other

compensation lost to her as a result of defendant Dalco’s discriminating against her on the basis

of her age, and prejudgment interest; liquidated damages doubling the award of interest, wages,

lost employment benefits, and other compensation lost to her as a result of defendant’s

discriminating against her on the basis of her age; reasonable attorney’s fees, expert witness fees,

expenses, and costs of this action and of prior administrative actions; and such other relief that

this Court deems just and appropriate.

                           COUNT III – VIOLATION OF THE ADA

       40.      Plaintiff realleges and incorporates by reference paragraphs 1 to 39 as if fully set

forth herein.

       41.      Plaintiff is a qualified individual within the meaning of 42 U.S.C. § 12111(8).

       42.      Defendant Dalco is an “employer” within the meaning of 42 U.S.C. §§ 12111(5)

in that it is engaged in an industry affecting commerce and has more than 15 employees for each




                                             EXHIBIT A
                                                                                                         Electronically Filed - St Louis County - April 15, 2020 - 04:49 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 10 of 33 PageID #: 14




working day in each of 20 or more calendar weeks in the current and preceding years. Thus, it is

also a covered entity within the meaning of 42 U.S.C. § 12111(5).

       43.     Plaintiff was an employee of Defendant Dalco within the meaning of 42 U.S.C. §

12111(4).

       44.     Prior to and at the time that the Defendant Dalco reduced Plainitff’s hours,

compensation and benefits, Plaintiff was qualified for employment as a administrative

clerk/accounting clerk.

       45.     On November 14, 2018, due to plaintiff’s actual or perceived disability,

Defendant Dalco discriminated against Plaintiff by reducing hours, compensation and benefits.

42 U.S.C. § 12112(a).

       46.     Plaintiff has been damaged by Defendant Dalco’s violation of the ADA, and has

suffered loss of past and future wages and benefits, loss of professional opportunities, emotional

distress, and mental pain and anguish.

       47.     Plaintiff is entitled to her attorneys’ fees and costs incurred in this matter pursuant

to 42 U.S.C. § 12205.

       48.     Brandt is further to any and all relief permitted under the ADA, 42 U.S.C. §

12117(a), including equitable relief.

       WHEREFORE, Plaintiff prays for damages in an amount to be determined at trial,

together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court deems

just and proper.




                                              EXHIBIT A
                                                                                                       Electronically Filed - St Louis County - April 15, 2020 - 04:49 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 11 of 33 PageID #: 15




             COUNT IV – FRAUD AGAINST DEFENDANTS DALCO AND BAS

       49.      Plaintiff realleges and incorporates by reference paragraphs 1 to 48 as if fully set

forth herein.

       50.      An amount of money was deducted from Plaintiff’s paychecks in November and

December 2018 for the purposes of health care premiums.

       51.      Despite having paid for the health insurance, Defendants made statements to

Plaintiff in November 2018 that Plaintiff’s health insurance had been cancelled.

       52.      Said representations were false.

       53.      Defendants intended Plaintiff to rely on Defendants’ representations.

       54.      Plaintiff detrimentally relied on Defendants’ false representations that her health

insurance had in fact been cancelled.

       55.      Plaintiff had a right to rely on Defendants’ false and material misrepresentations.

       56.      As a direct and proximate result of Defendants’ false and material

misrepresentations that her insurance had been cancelled, Plaintiff sustained injury and damages.

       57.      Said false representations made by Defendants were made maliciously so as to

justify the imposition of punitive damages.

       WHEREFORE, Plaintiff prays for judgment against Defendants in such amount as is

allowable by law and to be determined at trial in excess of $25,000, for punitive damages, costs,

pre and post judgment interest at the greatest rate allowed by statute and for attorney fees and as

provided by statute and for such other and further relief this Court deems just and proper.




                                              EXHIBIT A
                                                                                                       Electronically Filed - St Louis County - April 15, 2020 - 04:49 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 12 of 33 PageID #: 16




                            COUNT V – BREACH OF CONTRACT

       58.      Plaintiff realleges and incorporates by reference paragraphs 1 to 57 as if fully set

forth herein.

       59.      Plaintiff paid for health insurance via premiums deducted from her paycheck

through the end of December 2018.

       60.      Despite having paid for it, Defendant BAS cancelled Plaintiff’s insurance

effective November 14, 2018.

       61.      Defendant has failed to perform the agreement with Plaintiff.

       62.      Plaintiff has performed all of her obligations pursuant to the agreement.

       63.      As a result of the breach of the defendant, Plaintiffs have been damaged in the

amount determined at trial.

       WHEREFORE, Plaintiff prays this Court enter judgment in favor of Plaintiff and against

Defendant BAS, awarding the sum as determined at trial as damages, for all costs herein

incurred, and for any other relief this Court deems just and proper.



                                                       _/s/ James E. Klenc ____________
                                                       James E. Klenc #48738
                                                       Law Offices of James E. Klenc LLC
                                                       Attorney for Plaintiff
                                                       PO Box 758
                                                       St. Peters, MO 63376
                                                       P: (314) 475-3112
                                                       jek@klenclaw.com




                                             EXHIBIT A
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 13 of 33 PageID #: 17

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 20SL-CC02195
 DEAN PAUL WALDEMER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 BRENDA GLENN                                                   JAMES EDWARD KLENC
                                                                P.O. BOX 758
                                                          vs.   SAINT PETERS, MO 63376
 Defendant/Respondent:                                          Court Address:
 DALCO INDUSTRIES, INC.                                         ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Employmnt Discrmntn 213.111                                 CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: DALCO INDUSTRIES, INC.
                                      Alias:
  DAVID L DICKERSON JR
  23 HOLLOWAY
  LAKE SAINT LOUIS, MO 63367

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        29-APR-2020                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       AD
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-3812        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                     EXHIBIT A                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 14 of 33 PageID #: 18
                       THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-3812   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                EXHIBIT A                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 15 of 33 PageID #: 19
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-3812   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                EXHIBIT A                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 16 of 33 PageID #: 20

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 20SL-CC02195
 DEAN PAUL WALDEMER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 BRENDA GLENN                                                   JAMES EDWARD KLENC
                                                                P.O. BOX 758
                                                          vs.   SAINT PETERS, MO 63376
 Defendant/Respondent:                                          Court Address:
 DALCO INDUSTRIES, INC.                                         ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Employmnt Discrmntn 213.111                                 CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: BENEFIT ADMINISTRATIVE SYSTEMS, LLC
                                      Alias:
  CSC LAWYERS INC SERV CO
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 63105

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        29-APR-2020                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       AD
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-3813        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                     EXHIBIT A                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 17 of 33 PageID #: 21
                       THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-3813   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                EXHIBIT A                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 18 of 33 PageID #: 22
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-3813   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                EXHIBIT A                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                      Electronically Filed - St Louis County - October 12, 2020 - 02:32 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 19 of 33 PageID #: 23




                IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
                               STATE OF MISSOURI

BRENDA GLENN,                         )
                                      )
                      Plaintiff,      )
v.                                    )
                                      )                  Cause No.: 20SL-CC02195
DALCO INDUSTRIES, INC.,               )
                                      )                  Division:
and                                   )
                                      )
BENEFIT ADMINISTRATIVE SYSTEMS, LLC., )
                                      )
                      Defendants.     )

                           REQUEST FOR ALIAS SUMMONS

       COMES NOW Plaintiff and requests summons to be issued for the following:

Dalco Industries, Inc., Serve Registered Agent: David L Dickerson Jr, 23 Holloway
Lake Saint Louis, MO 63367. Service to be made by Sheriff of St. Charles, County

Benefit Administrative Systems, LLC., Serve Registered Agent, CSC-LAWYERS
INCORPORATING SERVICE COMPANY , 221 Bolivar Street, Jefferson City, MO 63105.
Service to be made by Sheriff of Cole County.


                                                  _/s/ James E. Klenc ____________
                                                  James E. Klenc #48738
                                                  Law Offices of James E. Klenc LLC
                                                  Attorney for Plaintiff
                                                  PO Box 758
                                                  St. Peters, MO 63376
                                                  P: (314) 475-3112
                                                  jek@klenclaw.com




                                          EXHIBIT A
                                                                                   Electronically Filed - St Louis County - October 12, 2020 - 02:32 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 20 of 33 PageID #: 24




                                   EXHIBIT A
                                                                                   Electronically Filed - St Louis County - October 12, 2020 - 02:32 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 21 of 33 PageID #: 25




                                   EXHIBIT A
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 22 of 33 PageID #: 26

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 20SL-CC02195
 DEAN PAUL WALDEMER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 BRENDA GLENN                                                   JAMES EDWARD KLENC
                                                                1360 S. 5TH STREET
                                                                SUITE 340
                                                          vs.   ST. CHARLES, MO 63301
 Defendant/Respondent:                                          Court Address:
 DALCO INDUSTRIES, INC.                                         ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Employmnt Discrmntn 213.111                                 CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: DALCO INDUSTRIES, INC.
                                      Alias:
  DAVID L DICKERSON JR
  23 HOLLOWAY
  LAKE SAINT LOUIS, MO 63367

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        20-OCT-2020                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       CD
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-9617        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                     EXHIBIT A                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 23 of 33 PageID #: 27
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-9617    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                 EXHIBIT A                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 24 of 33 PageID #: 28
                       THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-9617   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                EXHIBIT A                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 25 of 33 PageID #: 29
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-9617   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                EXHIBIT A                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 26 of 33 PageID #: 30

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 20SL-CC02195
 DEAN PAUL WALDEMER
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 BRENDA GLENN                                                   JAMES EDWARD KLENC
                                                                1360 S. 5TH STREET
                                                                SUITE 340
                                                          vs.   ST. CHARLES, MO 63301
 Defendant/Respondent:                                          Court Address:
 DALCO INDUSTRIES, INC.                                         ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Employmnt Discrmntn 213.111                                 CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: BENEFIT ADMINISTRATIVE SYSTEMS, LLC
                                      Alias:
  CSC LAWYERS INC SERV CO
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 63105

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        20-OCT-2020                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       CD
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-9618        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                     EXHIBIT A                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 27 of 33 PageID #: 31
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-9618    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                 EXHIBIT A                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 28 of 33 PageID #: 32
                       THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-9618   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                EXHIBIT A                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 29 of 33 PageID #: 33
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-9618   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                EXHIBIT A                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                                                                            Electronically Filed - St Louis County - November 02, 2020 - 02:23 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 30 of 33 PageID #: 34

                               St. Charles County Sheriffs Department
                       201 North Second Street, Ste. 440 , St. Charles, MO 633 01

                    RETURN OF SERVICE _Record #2020-008783
Case No : 20S LCC02 195                                          Court: ST LOU IS
Plaintiff: GLE NN, BRENDA
Defendant: DALCO INDUSTRIES INC
Court I Return Date : 11 /19/2020
                             - - -- -- - - -- - - Doc ID#: -
                                                           20-SMCC-9617
                                                             - - - - - - - -- - - -
Type of Document:
                             - - - - - - -- - -- - - - -- - Zone -
                             CIVI L SUMMONS                          05
                                                                        - - -- - - -
Party to be served:          DICKERSON , DAVID L JR
Address : 23 HOLLOWAY DR, LAKE ST LOUI S, MO 63367
Employment/ Alternate:
Special Info I Pedigree:          EMPLOYMENT DISCRIMINATION



                                                FINAL SERVICE
PARTY SERVED:
RELATIONSHIP/ TITLE:
                                  - -- - - -- - --   - - - - - - - - -- - - - - - -
DATE:        \ \)   tt-} g0                     Time :
ADDRESS :

NON-EST OPTIONS : 0UNABLE TO DETERMINE SERVICE           0WRONG/BAD ADDRESS            00UARANTINE / IN TREATMENT

OAvo1D1 NG         O NO CONTACT    OLOcKED ACCESS OExP1RED UPON RECEIPT   Dour ON LEAVE      OsERVED OTHER AGENCY

D DECEASED     ~      ovED         D INCARCERATED   ONo LONGER EMPLOYED OR ECALLED           O s HORT TURNAROU ND


SCOTT A LEWIS, Sheriff of St. Charles County, Missouri

By Deputy Signature           ~~                                                                         DSN     IS:Y
          (1<42 \A ( it .b< , ::f'O~~
Printed Name

TOTAL FEES: ~ ~9.c::o
                                         ATTEMPTS / NOTES
Date            Time         DSN Comments




                                DOCUMENT RETURNED TO OFFICE FOR FINAL DISPOSITION :


                                                                                    C> 1994 - 2019 Omn,go Software St Lou,s MO omn,go com


                                                     EXHIBIT A
                                                                                   Electronically Filed - St Louis County - November 02, 2020 - 02:23 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 31 of 33 PageID #: 35




                                   EXHIBIT A
                                                                                   Electronically Filed - St Louis County - November 10, 2020 - 02:29 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 32 of 33 PageID #: 36




                                   EXHIBIT A
                                                                                   Electronically Filed - St Louis County - November 10, 2020 - 02:29 PM
Case: 4:20-cv-01741-SNLJ Doc. #: 1-1 Filed: 12/08/20 Page: 33 of 33 PageID #: 37




                                   EXHIBIT A
